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 6                               UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8   UNITED STATES OF AMERICA,                          )
                                                        )
 9                          Plaintiff,                  )
                                                        )
10           v.                                         )           2:09-CR-466-PMP (LRL)
                                                        )
11   RICARDO SANTACRUZ-BECERILL,                        )
     MANUEL GUDINO-SIERRA,                              )
12   LUIS MIGUEL SAGRERO-ALBA, and                      )
     HECTOR GONZALEZ-ALBA,                              )
13                                                      )
                            Defendants.                 )
14

15                            PRELIMINARY ORDER OF FORFEITURE

16          This Court finds that on June 13, 2011, defendant RICARDO SANTACRUZ-BECERILL pled

17   guilty to Count One of a Four-Count Superseding Criminal Indictment charging him with Conspiracy

18   to Distribute a Controlled Substance, in violation of Title 21, United States Code, Section 841(a)(1)

19   and (b)(1)(A)(viii). Docket #37, #120, #124.

20          This Court finds that on June 13, 2011, defendant MANUEL GUDINO-SIERRA pled guilty

21   to Count One of a Four-Count Superseding Criminal Indictment charging him with Conspiracy to

22   Distribute a Controlled Substance, in violation of Title 21, United States Code, Section 841(a)(1)

23   and (b)(1)(A)(viii). Docket #37, #123, #125.

24          This Court finds that on June 13, 2011, defendant LUIS MIGUEL SAGRERO-ALBA pled

25   guilty to Count One of a Four-Count Superseding Criminal Indictment charging him with Conspiracy

26   ...
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 1   to Distribute a Controlled Substance, in violation of Title 21, United States Code, Section 841(a)(1)

 2   and (b)(1)(A)(viii). Docket #37, #122, #126.

 3         This Court finds that on June 13, 2011, defendant HECTOR GONZALEZ-ALBA pled guilty

 4   to Count One of a Four-Count Superseding Criminal Indictment charging him with Conspiracy to

 5   Distribute a Controlled Substance, in violation of Title 21, United States Code, Section 841(a)(1)

 6   and (b)(1)(A)(viii). Docket #37, #121, #127.

 7         This Court finds defendants RICARDO SANTACRUZ-BECERILL, MANUEL GUDINO-

 8   SIERRA, LUIS MIGUEL SAGRERO-ALBA, and HECTOR GONZALEZ-ALBA agreed to the

 9   forfeiture of the property set forth in Forfeiture Allegation Three of the Superseding Criminal

10   Indictment and in the Plea Memoranda. #37, #120-127.

11         This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of America

12   has shown the requisite nexus between property set forth in Forfeiture Allegation Three of the

13   Superseding Criminal Indictment and the offense to which defendants RICARDO SANTACRUZ-

14   BECERILL, MANUEL GUDINO-SIERRA, LUIS MIGUEL SAGRERO-ALBA, and HECTOR

15   GONZALEZ-ALBA pled guilty.

16         The following asset is subject to forfeiture pursuant to Title 18, United States Code, Section

17   924(d)(1) and Title 28, United States Code, Section 2461(c):

18                 1.     .22 caliber Davis Industries Model DM22 handgun, bearing serial number

19                        305603, and

20                 2.     any and all ammunition.

21         This Court finds the United States of America is now entitled to, and should, reduce the

22   aforementioned property to the possession of the United States of America.

23         NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

24   United States of America should seize the aforementioned property.

25         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

26   RICARDO SANTACRUZ-BECERILL, MANUEL GUDINO-SIERRA, LUIS MIGUEL
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 1   SAGRERO-ALBA, and HECTOR GONZALEZ-ALBA in the aforementioned property is forfeited

 2   and is vested in the United States of America and shall be safely held by the United States of

 3   America until further order of the Court.

 4         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

 5   shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

 6   website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state

 7   the time under the applicable statute when a petition contesting the forfeiture must be filed, and state

 8   the name and contact information for the government attorney to be served with the petition,

 9   pursuant to Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).

10         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed

11   with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101.

12         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

13   shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

14   following address at the time of filing:

15                  Michael A. Humphreys
                    Assistant United States Attorney
16                  Daniel D. Hollingsworth
                    Assistant United States Attorney
17                  Lloyd D. George United States Courthouse
                    333 Las Vegas Boulevard South, Suite 5000
18                  Las Vegas, Nevada 89101.

19
           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein
20
     need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency
21
     following publication of notice of seizure and intent to administratively forfeit the above-described
22
     property.
23
           DATED this ______ day of __________________,
                        28th day    June, 2011.         2011.
24

25

26                                                 UNITED STATES DISTRICT JUDGE
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 1                                       PROOF OF SERVICE

 2        I, Elizabeth Baechler-Warren, Forfeiture Support Associate Paralegal, certify that the

 3   following individual was served with a copy of the Final Order of Forfeiture on June 14, 2011,

 4   by the below identified method of service:

 5
          E-mail/ECFL
 6
          William C. Carrico
 7        Federal Public Defender
          411 E. Bonneville Avenue, Suite 250
 8        Las Vegas, NV 89101
          Email: William_Carrico@FD.ORG
 9        Attorney for the Defendant Ricardo Santacruz-Becerill

10        Franny A. Forsman
          Federal Public Defender
11        411 E. Bonneville Avenue, Suite 250
          Las Vegas, NV 89101
12        Email: Bonnie_Bell@FD.ORG
          Attorney for the Defendant Ricardo Santacruz-Becerill
13
          Osvaldo E. Fumo
14        Osvaldo E. Fumo, Chtd.
          1212 Casino Center Boulevard
15        Las Vegas, NV 89104
          Email: Ozzie@Fumolaw.com
16        Attorney for the Defendant Ricardo Santacruz-Becerill

17        Charles E. Kelly
          Charles E. Kelly & Associates
18        706 South Eighth Street
          Las Vegas, NV 89101
19        Email: Ceklv@aol.com
          Attorney for the Defendant Manuel Gudino-Sierra
20
          Michael P. Kimbrell
21        Michael P. Kimbrell, Ltd.
          523 South Eighth Street
22        Las Vegas, NV 89101
          Email: mpkimbrell@aol.com
23        Attorney for the Defendant Luis Miguel Sagero-Alba

24

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 1    James A. Oronoz
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 2    700 South Third Street
      Las Vegas, NV 89101
 3    Email: jim@Oronozlawyers.com
      Attorney for the Defendant Luis Miguel Sagero-Alba
 4
      Angela H. Dows
 5    Reade & Associates
      4560 South Decatur Boulevard, 6th Floor
 6    Las Vegas, NV 89103
      Email: adows@readelawfirm.com
 7    Attorney for the Defendant Hector Gonzalez-Alba

 8
                                         /s/ Elizabeth Baechler-Warren
 9                                       Elizabeth Baechler-Warren
                                         Forfeiture Support Associate Paralegal
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